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                  IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE: DIVYANG GOSWAMI,                          CASE NO. 20-66432-PWB

        DEBTOR.                                   CHAPTER 7

                                CHANGE OF ADDRESS


Updated address for: DIVYANG GOSWAMI

Old Address:        512 West Crogan Street
                    Lawrenceville, GA 30046

New Address:        1760 Lakes Parkway Apt 1207
                    Lawrenceville, GA 30043

Furnished by:       Brandon K. Honsalek
                    414 Pine Grove Ave., 2nd Floor
                    Grayson, GA 30017

Effective Date:     June 20, 2022




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